Case: 1:19-cv-06627 Document #: 280 Filed: 11/13/23 Page 1 of 1 PageID #:4256

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Powell Prescription Center, et al.
                                        Plaintiff,
v.                                                        Case No.: 1:19−cv−06627
                                                          Honorable John J. Tharp Jr.
Surescripts, LLC, et al.
                                        Defendant.



                           NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, November 13, 2023:


        MINUTE entry before the Honorable John J. Tharp, Jr:The unopposed joint
motion for leave to file briefs in excess of fifteen pages [279] is granted. Daubert motions
shall not exceed 30 pages; Daubert motion responses shall not exceed 20 pages. Mailed
notice(air, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
